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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RENEE BARNAUSKAS,                         :
                                          : Case No.
              Plaintiff,                  :
                                          :
      v.                                  :
                                          :
SYNCHRONY BANK, and                       :
GENPACT SERVICES, LLC,                    :
                                          :
              Defendants.                 :


                    DEFENDANT GENPACT SERVICES, LLC’S
                           NOTICE OF REMOVAL

TO:   THE HONORABLE UNITED STATES DISTRICT COURT FOR THE
      MIDDLE DISTRICT OF PENNSYLVANIA

      PLEASE TAKE NOTICE THAT on this date, Defendant Genpact Services,

LLC (“Genpact”), hereby removes the above-captioned matter to this Honorable

Court from the Court of Common Pleas of Lackawanna County, and in support

thereof would respectfully show as follows:

      1.      Genpact is a defendant in a civil action originally filed on or about

October 27, 2017, in the Court of Common Pleas of Lackawanna County, titled

Renee Barnauskas v. Synchrony Bank and Genpact Services, LLC, and docketed

to Case No. 17-CV-5702.

      2.      Genpact first received a copy of Plaintiff’s Complaint by service on

or about October 31, 2017. Also, Defendant Synchrony Bank first received a

copy of Plaintiff’s Complaint by service on or about October 30, 2017.

Therefore, this removal is timely under 28 U.S.C. § 1446(b).

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      3.      Pursuant to 28 U.S.C. § 1446, attached hereto as Exhibit B are

true and correct copies of all process, pleadings and orders received by

Genpact in the state court action.

      4.      Removal is based upon federal question jurisdiction. Plaintiff has

alleged claims against Genpact under the the Telephone Consumer Protection

Act, 47 U.S.C. § 227, and the Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq., two federal statutes. Therefore, the United States District Court

for the Middle District of Pennsylvania has original jurisdiction over this action

pursuant to 28 U.S.C. § 1331, and this action is removable to this Court

pursuant to 28 U.S.C. § 1441. Accordingly, Genpact herby removes this action

to the United States District Court for the Middle District of Pennsylvania

pursuant to 28 U.S.C. § 1446.

      5.      Defendant Synchrony Bank, by and through its attorney, Jonathan

M. Marmo of ReedSmith LLP, consents to the removal of this case. See the

“Consent to Removal by Defendant Synchrony Bank,” that is attached hereto as

Exhibit B.

      6.      Promptly after the filing of this Notice, Genpact will provide notice

of this removal to all parties and to the Court of Common Pleas of Lackawanna

County, Pennsylvania.

      WHEREFORE, PREMISES CONSIDERED, Defendant Genpact Services,

LLC removes this case to the United States District Court for the Middle

District of Pennsyvlania.


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Dated: November 27, 2017


                            Respectfully submitted,

                            BARRON & NEWBURGER, P.C.


                             /s/ Brit J. Suttell
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                            Counsel for Defendant Genpact Services, LLC




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                         CERTIFICATE OF SERVICE

      I certify that on November 27, 2017, a true copy of the foregoing

document was served on Plaintiff’s Counsel below via the Court’s ECF system

and/or via e-mail:

Brett Freeman, Esq.                       Jonathan M. Marmo, Esq.
Sabatini Law Firm, LLC                    ReedSmith LLP
216 N. Blakely St.                        225 Fifth Avenue
Dunmore, PA 18512                         Pittsburgh, PA 15222
brett@bankruptcypa.com                    JMarmo@ReedSmith.com
Counsel for Plaintiff                     Counsel for Defendant
Renee Barnauskas                          Synchrony Bank


      I further certify that on November 27, 2017, a true copy of the foregoing

document was served on the persons below via U.S. Mail, postage pre-paid:

Prothonotary – Civil Division
Lackawanna County
Court of Common Pleas
Brooks Building
436 Spruce Street
Scranton, PA 18503



                                /s/ Brit J. Suttell
                                BRIT J. SUTTELL, ESQ.




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